          Case 2:21-cr-00189-JCM-BNW Document 19 Filed 11/05/21 Page 1 of 2




 1                              UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3 8QLWHG6WDWHVRI$PHULFD,                            Case No.: 21FU189-JCM-BNW-2

 4          Plaintiff

 5          v.
                                                                     Minute Order Re:
 6                                                                   In-Person Hearing
     Jennifer Segovia
 7
             Defendant.
 8

 9         ,7,6+(5(%<25'(5('WKDWDQLQSHUVRQSentencing hearing Zillbeconductedin

10 Courtroom$RIWKH/OR\G'*HRUJH&RXUWKRXVH DW3$0 RQ1RYHPEHU10.

11         The Court is closely following and reinforcing the guidelines from theCDC and other

12 relevant health authoritiesand is taking precautionary measures to limit the potential spread of

13 the COVID-19 virus. For example:

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      x   All visitors to the courthouse will be required to maintain a social distance of at least six
15        feet and either wash their hands or use hand sanitizer before entering the courtroom.
16
      x   Inside the courtrooms, chairs, tables, and microphones that have been utilized will be
          cleaned after each hearing. Counsel are encouraged to bring disinfectant wipes to clean
17
          the surface areas utilized to their own comfort level as well.
18
      x   Hearing attendees are encouraged to bring and wear personal protective equipment
          including face masks, gloves, or other protective coverings.
19

20    x   Documents that will be referenced or utilized during a hearing must be emailed to the
          Courtroom Deputy and any other necessary recipient (e.g., opposing counsel, defendant)
21        at least 24 hours before the hearing.

22    x   Any necessary signed documents must be filed at least one day before the scheduled
          hearing as required by General Order 2020-05.
23
          If you do not feel well, contact the Courtroom Deputy immediately to reschedule
         Case 2:21-cr-00189-JCM-BNW Document 19 Filed 11/05/21 Page 2 of 2




 1 WKLVKHDULQJRUPDNHDUUDQJHPHQWVWRDWWHQGLWUHPRWHO\'2127&20(727+(

 2 COURTHOUSE IF YOU ARE EXPERIENCING FLU-LIKE SYMPTOMS such as a

 3 cough, fever, or shortness of breath, or if you have been in contact with anyone who has

 4 been recently diagnosed with a COVID-19 infection. Refer to Temporary General Order

 5 2020-02 for additional courthouse-access policies and procedures.
                 November 5, 2021
 6        Dated: _____________________

 7
                                                        _________________________________
 8                                                      U.S. District Judge

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